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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

  BRADFORD SOHN,                               Civil Case No.:

                      Plaintiff,
  v.                                                        COMPLAINT
                                                       JURY TRIAL DEMANDED
  MEDICREDIT, INC.,

                      Defendant.

                                     INTRODUCTION

       1.     This action arises out of Defendant Medicredit Inc.’s (“Medicredit”) repeated

 violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”),

 the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the

 Florida Consumer Collection Practices Act, Fla. Stat. § 559.55, et seq. (“FCCPA”).

       2.     Defendant has placed dozens of telephone calls to Plaintiff Sohn’s cellular

 telephone in an attempt to collect a debt allegedly owed by Plaintiff Sohn.

       3.     On multiple occasions, Plaintiff Sohn asked Defendant to stop calling him.

       4.     Nonetheless, the calls continued.

       5.     Calls after Plaintiff Sohn asked Defendant to stop calling were made without

 consent.

       6.     All of these telephone calls were made using an automatic telephone dialing

 system as defined at 47 U.S.C. § 227(a)(1).

       7.     Accordingly, the calls all violated the TCPA, FDCPA, and the FCCPA.

                               JURISDICTION AND VENUE

       8.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331, as this

 action arises under the TCPA and the FDCPA, which are federal statutes. The Court has
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 supplemental jurisdiction over the FCCPA claim.

        9.      This Court has personal jurisdiction over Defendant because Defendant

 conducts significant amounts of business transactions within this District and because the

 conduct was directed at this District.

        10.     Venue is proper in this District under 28 U.S.C. § 1391(b) because

 Defendant conducts significant amounts of business transactions within this District and

 because the conduct was directed at this District.

                                          PARTIES

        11.     Plaintiff Sohn is, and at all times mentioned herein was, a citizen of Florida

 and a resident of this district.

        12.     Plaintiff is, and at all times mentioned herein was, a “person” as defined by

 47 U.S.C. § 153 (39).

        13.     Defendant Medicredit, Inc., and at all times mentioned herein was, a

 Missouri corporation headquartered at One Park Plaza, Nashville, TN 37203. It may be

 served in Florida at CT Corporation System, 1200 South Pine Island Road, Plantation,

 FL 33324.

        14.     Defendant Medicredit, Inc. is, and at all times mentioned herein was, a

 “person” as defined by 47 U.S.C. § 153 (39).

                                           FACTS

        15.     In the past four years, Defendant has placed numerous telephone calls to

 Plaintiff’s cellular telephone, number 310-###-0001.

        16.     These calls originated from Defendant, including, but not limited to,

 Defendant’s telephone number 800-823-2318.
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           17.   These calls were all in an effort to collect a debt allegedly owed by Plaintiff.

           18.   Defendant is, upon information and belief, a licensed debt collection

 agency.

           19.   Furthermore, the debt sought to be collected was, upon information and

 belief, incurred for primarily personal, family, and household purposes. This is believed

 because the person Defendant sought appeared to be an individual rather than a

 business, because Defendant collects on behalf of consumer-focused entities, and

 because of Defendant’s extensive history of litigation by individuals relating to its attempts

 to collect a debt for personal, family, or household purposes.

           20.   Defendant was required to obtain prior express consent prior to making

 such calls.

           21.   Plaintiff never gave Defendant consent to make such calls to his cellular

 telephone.

           22.   Furthermore, because Plaintiff never agreed to the calls and did not want

 the calls, Plaintiff asked Defendant on numerous occasions to stop calling him.

           23.   Nevertheless, the calls continued.

           24.   As a result, the calls violated 15 U.S.C. § 1692d(5), which prohibits

 “[c]ausing a telephone to ring or engaging any person in telephone conversation

 repeatedly or continuously with intent to annoy, abuse, or harass any person at the called

 number.”

           25.   Defendant continuing the calls after being asked to stop is indicative of

 intent.

           26.   Defendant’s conduct further violates Fla. Stat. § 559.72(7), which prohibits
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 willfully communicating “with the debtor … with such frequency as can reasonably be

 expected to harass the debtor … or willfully engag[ing] in other conduct which can

 reasonably be expected to abuse or harass the debtor[.]”

         27.     All of these calls were placed using an “automatic telephone dialing system”

 as defined at 47 U.S.C. § 227(a)(1) and as explained in subsequent FCC regulations and

 orders. The system(s) used by Defendant has/have the capacity to store number and to

 dial those numbers, or to produce telephone numbers to be called using a random or

 sequential number generator.

         28.     This is evidenced by:

                    The inability to stop the calls;

                    The frequency of the calls;

                    A brief and unnatural pause from the time Plaintiff answered the calls

                     until the time Defendant’s agent comes on the line (for example,

                     Defendant would not appear on the line until Plaintiff’s second “hello”);

                    An often audible “click” prior to the agent appearing on the line;

                    Defendant’s registration of its equipment with the Texas Automatic Dial

                     Announcing Devices registry.1

         29.     These calls were not made for any emergency purpose.

         30.     Plaintiff has suffered actual injury as a result of Defendant’s telephone calls,

 including, but not limited to:



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 https://www.puc.texas.gov/industry/communications/directories/adad/report_adad.aspx?ID=ADSQL01DB12457036

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                    Device storage;

                    Data usage;

                    Lost time tending to and responding to the unsolicited calls;

                    Depleted battery and cost in charging his phone;

                    Tying up of his telephone line;

                    Invasion of Privacy;

                    Nuisance.

           31.   These forms of actual injury are sufficient for Article III standing purposes.

           32.   Plaintiff is entitled to statutory damages, actual damages, and injunctive

 relief.

           33.   Specifically, Plaintiff is entitled to at least $500 for each call placed to his

 cellular telephone in violation of 47 U.S.C. § 227(b).

           34.   Plaintiff is also entitled to treble damages for each call made willfully or

 knowingly and in violation of the TCPA.

           35.   Defendant’s actions were willful because Defendant made the calls of its

 own volition.

           36.   Defendant’s actions were knowing violations of § 227(b) because

 Defendant knew it was placing calls to cellular telephones, knew it was using an automatic

 telephone dialing system, and knew or should have known it did not have consent.

           37.   Accordingly, Plaintiff is entitled to $1,500 per call for violations of § 227(b).

           38.   Plaintiff is also entitled to $1,000 plus attorneys’ fees and costs for violations

 of the FDCPA.

           39.   Plaintiff is also entitled to $1,000 plus attorneys’ fees and costs for violations
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 of the FCCPA.

                                 FIRST CAUSE OF ACTION
                           Violations of 47 U.S.C. § 227(b) et seq.

        40.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

        41.     Defendant placed repeated calls to Plaintiff on his cellular telephone.

        42.     Defendant knew, or should have known, that it was calling a cellular

 telephone.

        43.     These calls all used an automatic telephone dialing system.

        44.     Defendant knew that its calls used an automatic telephone dialing system.

        45.     Plaintiff did not consent to Defendant placing such calls to his cellular

 telephone.

        46.     Plaintiff also told Defendant on multiple occasions to stop calling.

        47.     Defendant therefore knew or should have known that it did not have consent

 to call Plaintiff’s cellular telephone.

        48.     The calls were not placed for “emergency purposes.”

        49.     Plaintiff is entitled to an award of $500 in statutory damages for each call

 made negligently, pursuant to 47 U.S.C. § 227(b)(3)(B).

        50.     Plaintiff is entitled to an award of treble damages in an amount up to $1,500

 for each call made knowingly and/or willfully, pursuant to 47 U.S.C. § 227(b)(3).

                                SECOND CAUSE OF ACTION
                              Violations of 15 U.S.C. § 1692d(5)

        51.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

        52.     Defendant is a “debt collector” as defined in the FDCPA.
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       53.    Defendant placed repeated calls to Plaintiff on his cellular telephone in an

 attempt to collect an allegedly past due debt.

       54.    Upon information and belief, the debt sought to be collected was primarily

 for personal, family, or household purposes.

       55.    These calls continued after Plaintiff asked Defendant to stop.

       56.    These calls were therefore done with the intent to annoy or harass Plaintiff,

 in violation of 15 USC § 1692d(5).

       57.    Plaintiff is entitled to an award $1,000 statutory damages and attorneys’

 fees pursuant to 15 U.S.C. § 1692k(a).

                               THIRD CAUSE OF ACTION
                         Violations of Fla. Stat. § 559.55, et seq.

       1.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       2.     Defendant is a “person” “collecting consumer debts” as defined in the

 FCCPA.

       3.     Defendant placed repeated calls to Plaintiff on his cellular telephone in an

 attempt to collect an allegedly past due debt.

       4.     Upon information and belief, the debt was primarily for personal, family, or

 household purposes.

       5.     These calls continued after Plaintiff asked Defendant to stop on multiple

 occasions.

       6.     These calls were made willfully, and could reasonably be expected to

 harass and abuse Plaintiff.

       7.     Plaintiff is entitled to an award $1,000 statutory damages and attorneys’

 fees pursuant to Fla. Stat. § 559.77.
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                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Sohn prays for the following relief:

       A.     An order declaring that Defendant’s actions, as set out above, violate 47

 U.S.C. § 227, et seq., 15 USC § 1692, et seq., and Fla. Stat. § 559.55, et seq.;

       B.     An award of injunctive and other equitable relief prohibiting Defendant from

 engaging in the wrongful and unlawful acts described herein;

       C.     An award statutory damages under both the TCPA, FDCPA, and FCCPA;

       D.     An award of actual damages;

       E.     An award of reasonable attorneys’ fees and costs; and

       F.     Such other and further relief that the Court deems reasonable and just.

                                       JURY DEMAND

       Plaintiff requests a trial by jury of all claims that can be so tried.

  Dated: January 6, 2017                         s/: Jeremy M. Glapion
                                                 Jeremy M. Glapion
                                                 THE GLAPION LAW FIRM, LLC
                                                 1704 Maxwell Drive
                                                 Wall, New Jersey 07719
                                                 Tel: 732.455.9737
                                                 Fax: 732.709.5150
                                                 jmg@glapionlaw.com

                                                 s:/Edward P. Dabdoub
                                                 Edward P. Dabdoub
                                                 WAGAR DABDOUB, P.A.
                                                 1600 Ponce de Leon Blvd.
                                                 Suite 1205
                                                 Coral Gables, FL 33134
                                                 Tel: 305-754-2000
                                                 Fax: 305-754-2007
                                                 eddie@longtermdisability.net

                                                 Attorneys for Plaintiff
